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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF KANSAS

     LAMONTE MCINTYRE and                              )
     ROSE LEE MCINTYRE,                                )
                                                       )
                    Plaintiffs,                        )
                                                       )
             v.                                        )   Case No. 2:18-CV-02545-KHV-KGG
                                                       )
     UNIFIED GOVERNMENT OF                             )
     WYANDOTTE COUNTY, et al.,                         )
                                                       )
                    Defendants.                        )

                              MOTION TO ENFORCE SUBPOENA
                        AGAINST NON-PARTY BERNARD CRAWFORD, SR.

          COMES NOW Defendant Roger Golubski, by and through his attorneys of record, and

     pursuant to Fed. R. Civ. P. 45(g), moves the Court for an order holding Bernard Crawford, Sr. in

     contempt for failure to comply with a lawfully issued and duly served subpoena to provide

     testimony in the above-referenced case. In support of this Motion, Defendant states as follows:

I.        T HE IMPORTANCE OF B ERNARD CRAWFORD ’S T ESTIMONY

             This case stems from the murders, and investigation into the murders, of Doniel Quinn and

     Donald Ewing on April 15, 1994.            Plaintiff Lamonte McIntyre was identified by two

     eyewitnesses—Ruby Mitchell and Niko Quinn—as the alleged murderer that approached the

     victims’ vehicle in broad daylight and fired numerous shotgun blasts into their vehicle, killing

     them.

             Since Lamonte McIntyre was convicted based upon the in-court identifications made by

     Ruby Mitchell and Niko Quinn, Niko Quinn has recanted her identification of Lamonte McIntyre

     as the shooter and, in a series of evolving statements, affidavits, and testimony, asserts the police

     and prosecutor coerced her into identifying Lamonte McIntyre. As a result, after his exoneration,
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Lamonte McIntyre filed this lawsuit alleging that police and prosecutorial misconduct caused his

wrongful conviction. Given Niko Quinn’s admission that she lied under oath, and that those lies

formed the basis of Lamonte McIntyre’s conviction, the critical factual issue this case presents is:

            Why did Niko Quinn perjure herself twice in June and September of 1994 by
                      testifying Lamonte McIntyre killed her cousin?

       According to the Plaintiffs’ theory, Niko Quinn was simply an innocent victim of alleged

police and prosecutorial misconduct, forcing her to wrongfully identify Lamonte McIntyre. But,

absent from the Plaintiffs’ narrative is the fact that Niko Quinn was a prominent drug dealer at the

time, with at least five drug houses of her own. In fact, she did not even have a home phone so as

to evade law enforcement wiretaps. (Exhibit 1: tr. 56:18–21) Niko Quinn’s drug operations were

significant enough that Niko Quin would not even answer her own door, she had a “guy” for that—

Bernard Crawford, Sr.

       Also absent is the fact that her then-boyfriend, Christopher Jones (aka “C-Love”) was also

a drug dealer. (Exhibit 1: Deposition of Niko Quinn, tr. 30:4–31:20) And, according to Niko

Quinn, C-Love was feared, even by other violent drug dealers, including Cecil Brooks. In Niko

Quinn’s words, “[t]hey are scared of him …. They called him the Grim Reaper.” (Exhibit 1:

Deposition of Niko Quinn tr. 47:4–19) This makes sense, because according to Niko Quinn

herself, she was only “messing with big time drug dealers. That was [her] motto.” (Exhibit 2:

Transcript of Interview of Niko Quinn given to the Wyandotte County District Attorney, tr. 34:15-

18)

       Remarkably, after the murder of her cousin, Niko Quinn was told that her boyfriend, C

Love—the Grim Reaper, was responsible for the murder. (Exhibit 1: Deposition of Niko Quinn,

tr. 116:6–16) She herself even accused him of committing the murders. (Exhibit 1: Deposition of

Niko Quinn, tr. 116:20-23) Despite being told C-Love was responsible, and despite accusing him,



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Niko Quinn did not identify her boyfriend and fellow drug dealer, C-Love, whose name she still

has tattooed across her chest. (Exhibit 1: Deposition of Niko Quinn, tr. 202:1-10).

       Instead, approximately one week after her cousin was murdered, Niko Quinn called

detective Golubski and told him she wanted to meet because she could not identify the killer. Prior

to her meeting with Detective Golubski, Niko Quinn knew from news reports and other sources

that Lamonte McIntyre was in custody for the murders, having seen his photograph on the news.

Niko Quinn did not go to that meeting alone. C-Love drove her. And, according to Niko, C-Love

stood nearby, monitoring her conversation with Detective Golubski. (Exhibit 1: Deposition of

Niko Quinn, tr. 92:22–93:14; 193:13–194:16)

       Niko Quinn’s and C-Love’s romantic relationship ended after Lamonte McIntyre’s June

28, 1994 pretrial hearing but before his September 29, 1994 jury trial. (Exhibit 1: Deposition of

Niko Quinn, tr. 29:18–30:3; 100:12–101:4) And it was between Lamonte McIntyre’s June pre-

trial hearing and his September jury trial that Niko Quinn now alleges she first tried to recant her

testimony to the prosecutor. Exhibit 1: Deposition of Niko Quinn, tr. 104:6–105:18) More

recently, when an investigator for Lamonte McIntyre tried to speak with Niko Quinn beginning in

or around 2009, C-Love would stop her from talking to him. In her words, C-Love did not want

her talking to anybody. (Exhibit 1: Deposition of Niko Quinn, tr. 89:18–90:3)

             Plaintiffs’ Theory on Who Killed Doniel Quinn and Donald Ewing

       As it relates to who killed Doniel Quinn and Donald Ewing, Plaintiffs, relying almost

entirely on Niko Quinn’s information, advance the theory that Aaron Robinson, acting in concert

with “drug kingpin” Cecil Brooks, ordered the murder of Doniel Quinn because he had stolen

drugs from their drug houses. (Doc. 74 ¶¶ 105) According to Plaintiffs, Aaron Robinson paid

Neil Edgar, Jr., aka “Monster”, who Plaintiffs describe as a “loyal foot soldier for a Kansas City,




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Kansas, drug kingpin” to carry out the murders (Doc. 74 ¶¶ 46, 105) 1. Further, Plaintiffs allege

that Detective Golubski ran protection for Cecil Brooks. (Doc. 74 ¶¶ 123, 124) 2

         Plaintiffs’ theory was developed mostly through Mr. McIntyre’s investigator, James

McCloskey, who testified that Niko Quinn “made it very clear” to him that C-Love had nothing to

do with the murder. Instead, she identified Neil Edgar, Jr. as the shooter. 3 The first recorded time

Niko Quinn is known to have identified Neil Edgar, Jr. (aka “Monster”) by name as the shooter

who, conveniently, was already in prison for murder, was in her affidavit dated June 30, 2014—

twenty years after the murders.

         Neil Edgar, Jr., who pleaded guilty to a different murder years later and is currently

incarcerated, denies involvement in Doniel Quinn’s murder. He also denies working for Cecil

Brooks and/or Aaron Robinson. And, notably, Neil Edgar, Jr.’s father, Neil Edgar, Sr., was another

reputed drug dealer in 1994—begging the question: why would the son of a reputed drug dealer

carry out murders for a different drug dealer? Even more suspicious is C-Love’s involvement with

the Edgar drug crew. Niko Quinn testified that Monita Edgar—the daughter of Neil Edgar, Sr. and

the sister to Neil Edgar, Jr.—supplied drugs to C-Love. (Exhibit 1: Deposition of Niko Quinn tr.

35:2–19)




1
   Aside from Niko Quinn’s testimony, the only evidence advanced that Neil Edgar, Jr. was the true killer are the
affidavits of Joe Robinson and Cecil Brooks. However, when deposed, neither of them corroborated the information
provided in their affidavits and Joe Robinson testified he only signed the affidavit to get Lamonte McIntyre’s
investigator, James McCloskey, out of his house.
2
  Similarly, Cecil Brooks testified that he was not well acquainted with Roger Golubski. Moreover, his previous
affidavit, which was obtained by Plaintiffs, made no mention that Roger Golubski worked for him.
3
   While Mr. McCloskey interviewed Chris Jones, and presumably Bernard Crawford, the extent of their knowledge
and information is unknown because Plaintiffs, despite requests, have not provided this information in discovery citing
it as work product.


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                           Bernard Crawford Could Illuminate
                    Niko Quinn’s True Motivations for Perjuring Herself

       Quinn’s “business” activities; her relationship with, devotion to, and/or fear of C-Love;

the fact that she and others suspected C-Love of the murders; and C-Love’s apparent involvement

in controlling with whom and when Niko Quinn spoke about the murders are central to this case.

Further, C-Love’s association with the Edgar drug crew, whom the Plaintiffs allege is the real

killer, calls into question who actually ordered the murders and Niko Quinn’s motivation for twice

identifying Lamonte McIntyre in open court as the shooter. Did she, as Plaintiffs suggest, feel

coerced by the prosecutor? Or, was she protecting her business interest? Or, was she fearful for

her safety, either from Monster or her boyfriend—C-Love, the Grim Reaper?

       To better understand Niko Quinn’s motivations for identifying Lamonte McIntyre,

Defendant subpoenaed and served Bernard Crawford, Sr. Mr. Crawford, according to Niko Quinn,

worked for Niko Quinn and C-Love. On the day of the murders, Mr. Crawford was “working the

door”—guarding Quinn, her children, and her house because of her drug operations. (Exhibit 1:

Deposition of Niko Quinn, tr. 55:4–6). That house was located on Hutchings St., across the street

from the murders.

       C-Love left Niko Quinn’s house ten minutes before the murders, purportedly to go take a

shower.   And, according to information Niko Quinn provided to the now now-deceased

investigator, Carolyn Adams, hired by Plaintiff Rose McIntyre, Mr. Crawford witnessed the crime

as he was standing on the porch of Quinn’s house but was on the run from police. (Exhibit 3)

       As a witness, Quinn’s bodyguard, and someone who was on Niko Quinn/C-Love’s payroll

as part of their drug operations, he is likely to have information about what transpired after the

murders, Niko Quinn’s and C-Loves’ interactions, and conversations, Quinn’s motivations to




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       protect her business interests, herself, and C-Love. Despite being subpoenaed and served, Bernard

       Crawford failed to appear for his deposition without any explanation.

 II.        STATEMENT OF FACTS

                1.    On January 12, 2022, Defendant Golubski filed a Notice of Deposition to take the

       videotaped deposition of Bernard Crawford, Sr. on January 27, 2022, at the law offices of Ensz &

       Jester, PC, 1100 Main Street, Suite 2121, Kansas City, Missouri 64105 (See Doc. 523, a copy of

       the Subpoena is attached here as Exhibit 1)

                2.    On January 14, 2022, that subpoena, along with a check for the amount of the

       witness fee and estimated mileage, was served on Bernard Crawford, Sr. by Joseph Baska, a

       process server with HPS Process Service & Investigations, at the address of 6253 State Avenue,

       Kansas City, Kansas 66102.

                3.    Counsel for all of the parties, along with the court reporter, appeared on January

       27, 2022, at 9:30 a.m. at the law offices of Ensz & Jester, PC, 1100 Main Street, Suite 2121, Kansas

       City, Missouri 64105, and waited until at least 10:15 a.m. but Bernard Crawford, Sr. failed to

       appear, despite being duly served.

                4.    Counsel issuing the subpoena has not heard from Bernard Crawford, Sr. after

       service of the subpoena and before the date of compliance and, as a result, he did not provide any

       excuse as to why he could not and did not comply with the subpoena.

                5.    Bernard Crawford, Sr. is a critical witness in this matter for the reasons explained

       above.

III.        ARGUMENTS AND AUTHORITIES

                Fed. R. Civ. P. 45(g) permits the Court, “where compliance is required” to “hold in

       contempt a person who, having been served, fails without adequate excuse to obey the subpoena




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      or any order related to it.” Here, Defendant Golubski’s counsel issued a subpoena to Mr. Crawford

      and had in duly served on January 14, 2022, to appear at a deposition on January 27, 2022.

      Including with the subpoena was a check for the witness fee and estimated mileage. Mr. Crawford

      failed to appear for his deposition and did not otherwise contact counsel for Defendant Golubski

      to seek to move the deposition or provide an excuse for his non-compliance. As a result, the

      conditions of Fed. R. Civ. P. 45(g) have been met.

             However, Defendant is cognizant that “it would be rare for a court to use contempt

      sanctions without first ordering compliance with a subpoena.” Duffy v. Lawrence Mem'l Hosp.,

      No. 2:14-CV-2256-SAC-TJJ, 2017 WL 1806429, at *2 (D. Kan. May 5, 2017) (citations and

      quotations omitted). As a result, Defendants request that the Court first issue an order requiring

      Bernard Crawford, Sr.’s compliance with the subpoena by ordering him to appear for a videotaped

      deposition within 10 days of such Order. Should he fail to comply with the Court’s order,

      Defendant requests that Mr. Crawford be ordered to show cause as to why he should not be held

      in contempt and to order further sanctions to compel his compliance, to include the issuance of a

      Writ of Body Attachment.

IV.        CONCLUSION

           For the above and foregoing reasons, Defendant Roger Golubski respectfully requests that

      this Court issue an order requiring Bernard Crawford, Sr. to sit for a videotaped deposition within

      ten days of the Court’s Order and, should he fail to do so, issue an order for Mr. Crawford to show

      cause and, ultimately, issue a Writ of Body Attachment to compel his compliance, if necessary,

      and for other relief this Court deems just and proper.




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                                 Respectfully submitted,

                                 ENSZ & JESTER, P.C.



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                               CERTIFICATE OF SERVICE

        I hereby certify that, on January 31, 2022, the above and foregoing was electronically
filed with the Clerk of the Court to be served by operation of the Court’s electronic filing system
upon all counsel of record.

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